     Case 11-01584               Doc 24    Filed 05/03/11 Entered 05/05/11 23:26:47      Desc Imaged
                                          Certificate of Service Page 1 of 4
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                              Northern District of Illinois
                                                   Case No. 11−01584
                                                       Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Sanya R Gool Johnson
   14915 S Champlain
   Dolton, IL 60491
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7968
Employer Tax ID / Other nos.:



                                            DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                            FOR THE COURT


Dated: May 3, 2011                                          Kenneth S. Gardner, Clerk
                                                            United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                  Case No. 11-01584-PSH
Sanya R Gool Johnson                                                                    Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0752-1           User: pseamann               Page 1 of 2                   Date Rcvd: May 03, 2011
                               Form ID: b18                 Total Noticed: 58


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 05, 2011.
db            +Sanya R Gool Johnson,    14915 S Champlain,     Dolton, IL 60419-2105
aty           +Joseph Davidson,    Legal Helpers,    233 South Wacker Drive, Suite 5150,     Chicago, IL 60606-6371
16678335    ++AMERICOLLECT INC,     PO BOX 2080,    MANITOWOC WI 54221-2080
              (address filed with court: Americollect,      Po Box 1566,    Manitowoc, WI 54221)
16678336       At&T,    c/o I.C. System, Inc.,    444 Highway 96 E, PO Box 64437,     Saint Paul, MN 55164-0437
16678337      +Bankfirst,    1509 W 41st St,    Sioux Falls, SD 57105-6370
16678338      +Barnes Auto,    2125 N Cicero,    Chicago, IL 60639-3309
16678339      +Baron Coll,    155 Revere Dr,    Northbrook, IL 60062-1558
16678341      +Cb Usa Inc,    5252 Hohman,    Hammond, IN 46320-1723
16678342      +Chase Receivables,    1247 Broadway,    Sonoma, CA 95476-7503
16678343      +Chase Std Ln,    99 Garney Road,    Pittsford, NY 14534-4565
16678344      +Chela,    Attn: Bankruptcy,    Po Box 9500,   Wilkes-Barre, PA 18773-9500
16678347       City of Chicago,    Department of Water Management,     PO Box 6330,    Chicago, IL 60680-6330
16678348      +City of Chicago - Dept. of Revenue,     c/o Arnold Scott Harris, P.C.,
                222 Merchandise Mart - Ste. 1932,     Chicago, IL 60654-1420
16678349       City of Chicago - Dept. of Revenue,     PO Box 88292,    Chicago, IL 60680-1292
16678350       Comcast,    c/o Credit Protection Assoc. L.P.,     PO Box 802068,    Dallas, TX 75380-2068
16678352      +Consecofin,    1400 Turbine Drive,    Rapid City, SD 57703-4719
16678354      +DirecTV,    c/o Receivables Performance Mgmt,     20816 44th Ave W,    Lynnwood, WA 98036-7744
16678355      +Fair Collections & Outsourcing,     12304 Baltimore Ave., #E,     Beltsville, MD 20705-1314
16678362      +Liberty Mutual,    c/o Credit Collection Services,     Two Wells Ave., Dept. 9134,
                Newton Center, MA 02459-3208
16678363       Loancare Servicing Ctr,     Interstate Commerce Center,    Norfolk, VA 23502
16678365      +Monterey Financial Svc,     4095 Avenida De La Plata,    Oceanside, CA 92056-5802
16678366      +Nancy Nordmann,    1926 N. Mohawk, Unit 12,     Chicago, IL 60614-5220
16678367      +National City Bank,    Po Box 5570,    Locbr-Yb58-01-3 Bankruptcy,     Cleveland, OH 44101-0570
16678368      +Nationwide Recovery Systems,     2304 Tarpley Drive #134,    Carrollton, TX 75006-2470
16678369      +Pheaa/brazos/ameri,    660 Boas St,    Harrisburg, PA 17102-1324
16678371      +Provident Bank,    309 Vine St,    Ms 25-C172d,    Cincinnati, OH 45202-3524
16678372      +Receivables Management Inc. (RMI)/ Mortg,     Attn: Bankruptcy,     3348 Ridge Rd,
                Lansing, IL 60438-3112
16678375       US Bank,    West Chicago Ave Dominick’s Office,     2021 W. Chicago Ave.,    Chicago, IL 60622-5549
16678374      +Uac/sst,    4315 Pickett Rd,    Saint Joseph, MO 64503-1600
16678376      +Us Dept Of Education,    Attn: Borrowers Service Dept,     Po Box 5609,    Greenville, TX 75403-5609
16678377    ++VANDERBILT MORTGAGE AND FINANCE INC,      P O BOX 9800,    MARYVILLE TN 37802-9800
              (address filed with court: Vanderbilt Mortgage,       500 Alcoa Trail,    Maryville, TN 37804)
16678380       Village of Forest Park,     c/o Municipal Recovery Services,    PO Box 1101,
                Huntley, IL 60142-1101
16678381       Village of Hazel Crest Bc,     c/o Municipal Collection Services,     PO Box 1022,
                Wixom, MI 48393-1022
16678382      +Village of Oak Park, Illinois,     Parking Operations,    PO Box 74005,    Chicago, IL 60690-8005
16678387      +Wilshire Credit Corp,    Attention: Bankruptcy Department CA6-91,       Po Box 5170,
                Simi Valley, CA 93062-5170

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr            EDI: QPVMARTINO.COM May 03 2011 23:28:00       Philip V Martino, ESQ,    Quarles & Brady,
               300 N. LaSalle,    Suite 4000,   Chicago, IL 60654
17022780     +EDI: ATLASACQU.COM May 03 2011 23:23:00       Atlas Acquisitions LLC,    294 Union St.,
               Hackensack, NJ 07601-4303
16678340     +EDI: AIS.COM May 03 2011 23:28:00      Capital One, N.a.,     C/O American Infosource,
               Po Box 54529,    Oklahoma City, OK 73154-1529
16678345     +EDI: CITICORP.COM May 03 2011 23:23:00       Citibank,    Attention: Centralized Bankruptcy,
               Po Box 20507,    Kansas City, MO 64195-0507
16678346     +EDI: CITICORP.COM May 03 2011 23:23:00       Citibank Usa,    Attn.: Centralized Bankruptcy,
               Po Box 20363,    Kansas City, MO 64195-0363
16678351     +E-mail/Text: legalcollections@comed.com May 03 2011 23:34:18        ComEd,   Bill Payment Center,
               PoO Box 6111,    Carol Stream, IL 60197-6111
17014467     +E-mail/Text: legalcollections@comed.com May 03 2011 23:34:18        Commonwealth Edison Company,
               3 Lincoln Center,    Attn: Bankruptcy Section,    Oakbrook Terrace, IL 60181-4204
16678353     +EDI: RCSFNBMARIN.COM May 03 2011 23:23:00       Credit One Bank,    Po Box 98875,
               Las Vegas, NV 89193-8875
16678356     +EDI: AMINFOFP.COM May 03 2011 23:23:00       First Premier Bank,    3820 N Louise Ave,
               Sioux Falls, SD 57107-0145
16678357     +EDI: RMSC.COM May 03 2011 23:28:00      GEMB / HH Gregg,     Attention: Bankruptcy,     Po Box 103106,
               Roswell, GA 30076-9106
16678358      EDI: HNDA.COM May 03 2011 23:28:00      Honda Financial,     PO Box 650024,   Dallas, TX 75265
16678359     +EDI: HFC.COM May 03 2011 23:28:00      Hsbc Best Buy,     Attn: Bankruptcy,   Po Box 5263,
               Carol Stream, IL 60197-5263
16678360     +EDI: HFC.COM May 03 2011 23:28:00      Hsbc/mnrds,     Hsbc Retail Srvs/ Attn: Bankruptcy,
               Po Box 5263,    Carol Stream, IL 60197-5263
16678361      EDI: IRS.COM May 03 2011 23:28:00      Internal Revenue Service,     PO Box 21126,
               Philadelphia, PA 19114
16678364     +EDI: RESURGENT.COM May 03 2011 23:28:00       Lvnv Funding Llc,    Po Box 740281,
               Houston, TX 77274-0281
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                                               Certificate of Service Page 4 of 4


 District/off: 0752-1                  User: pseamann                     Page 2 of 2                          Date Rcvd: May 03, 2011
                                       Form ID: b18                       Total Noticed: 58


 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
 (continued)
 16678370      EDI: PRA.COM May 03 2011 23:23:00     Portfolio Rc,     Attn: Bankruptcy,    Po Box 41067,
                Norfolk, VA 23541
 16678373     +EDI: WTRRNBANK.COM May 03 2011 23:23:00      Target,    Po Box 9475,   Minneapolis, MN 55440-9475
 16678378     +EDI: AFNIVZWIRE.COM May 03 2011 23:23:00      Verizon,    Attn: Bankruptcy,    PO Box 3397,
                Bloomington, IL 61702-3397
 16678379     +EDI: WFNNB.COM May 03 2011 23:23:00      Victoria’s Secret,    Po Box 182124,
                Columbus, OH 43218-2124
 16678383     +EDI: WFFC.COM May 03 2011 23:23:00      Wells Fargo Hm Mortgag,    3476 Stateview Blvd,
                Fort Mill, SC 29715-7200
 16678384     +EDI: WFNNB.COM May 03 2011 23:23:00      Wfnnb/express,    Po Box 182124,    Columbus, OH 43218-2124
 16678385     +EDI: WFNNB.COM May 03 2011 23:23:00      Wfnnb/j Crew,    Po Box 182273,    Columbus, OH 43218-2273
 16678386     +EDI: WFNNB.COM May 03 2011 23:23:00      Wfnnb/roomplace,    Po Box 337003,
                Northglenn, CO 80233-7003
                                                                                                TOTAL: 23

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: May 05, 2011                                       Signature:
